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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

                     v.                                 No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                                Defendants.


                                        [PROPOSED] ORDER

        WHEREAS Defendants BAM Trading Services Inc. and BAM Management US Holdings

Inc. (together, “BAM”) have moved to dismiss the claims asserted against them in the Complaint

filed by Plaintiff the Securities and Exchange Commission (the “SEC”) in the above-captioned

matter, for failure to state a claim.

        Now having considered BAM’s motion and all relevant submissions and arguments by the

parties, it is hereby ORDERED that BAM’s motion is GRANTED; and it is further ORDERED

that the claims asserted against BAM are hereby DISMISSED WITH PREJUDICE.




Dated: ___________________                        ______________________________
                                                  Amy Berman Jackson
                                                  UNITED STATES DISTRICT JUDGE
